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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §           CASE NO. 2:07CR5(4)
                                                 §
WENDELLA GENOA WILLIAMS                          §


              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Chad Everingham regarding the defendant’s plea of guilty and allocution of the

defendant on an information charging the defendant in Count 1 with a violation of 21 U.S.C. § 846,

Conspiracy to Possess with Intent to Distribute Cocaine. Having conducted a proceeding in the form

and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the court

accept the guilty plea of the defendant. No objections were filed to the Magistrate Judge's Findings

of Fact and Recommendation.        The court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed January 23, 2009, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant’s plea agreement, the court finds

defendant GUILTY of Count 1 of the Information in the above-numbered cause.




                                                 1
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        SIGNED this 13th day of February, 2009.



                                           __________________________________________
                                           T. JOHN WARD
                                           UNITED STATES DISTRICT JUDGE




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